             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JANE DOE, individually and on            Case No. 3:23-cv-00585-MEM
behalf of all other similarly situated
consumers,                               Honorable Malachy E Mannion

                    Plaintiff,

             v.

LEHIGH VALLEY HEALTH
NETWORK, INC.,

                    Defendant.


    DEFENDANT LEHIGH VALLEY HEALTH NETWORK, INC.’S
    BRIEF IN SUPPORT OF MOTION TO DISMISS PLAINTIFF’S
                       COMPLAINT
                                         TABLE OF CONTENTS
                                                                                                                  Page
INTRODUCTION .....................................................................................................1
FACTUAL AND LEGAL BACKGROUND ............................................................2
LEGAL STANDARD ................................................................................................4
ARGUMENT .............................................................................................................5
I. This Court should dismiss the Complaint because Plaintiff does not plead facts
   indicating that LVHN failed to implement reasonable security standards
   (Counts I-V). ........................................................................................................6
II. Plaintiff’s negligence claim fails because Plaintiff does not allege facts
    supporting a breach and because Pennsylvania law does not permit negligence
    per se claims based on FTCA or HIPAA (Count I). ...........................................9
III. This Court should dismiss Plaintiff’s claim for breach of fiduciary duty
     because she fails to allege a confidential relationship with LVHN or that
     LVHN disclosed her private information (Count II). ........................................11
IV. This Court should dismiss Plaintiff’s claim for breach of implied contract
    because she fails to allege conduct by LVHN demonstrating mutual assent, and
    she impermissibly relies on LVHN’s written privacy policy to support her
    claim (Count III). ...............................................................................................13
V. This Court should dismiss Plaintiff’s claim for breach of confidence because
   she fails to allege that LVHN disclosed information that would blacken her
   character (Count IV). .........................................................................................15
VI. Plaintiff’s claim for publicity given to private life fails because Plaintiff’s
    information has not been publicized and because LVHN did not voluntarily
    disclose Plaintiff’s information (Count V). .......................................................16
CONCLUSION ........................................................................................................18




                                                            i
                                     TABLE OF AUTHORITIES

                                                                                                           Page(s)

Cases

Advanced Fluid Systems, Inc. v. Huber,
  295 F. Supp. 3d 467 (M.D. Pa. 2018) ................................................................. 13

Almendarez v. Lottery,
   2017 WL 3190646 (W.D. Pa. July 27, 2017) ..................................................... 10

Am. Corporate Soc’y v. Valley Forge Ins. Co.,
  424 Fed. App’x 86 (3d Cir. 2011) ........................................................................ 4

Ashcroft v. Iqbal,
   556 U.S. 662 (2009) .......................................................................................... 4, 5

Baer v. Chase,
  392 F.3d 609 (3d Cir. 2004) .........................................................................13, 14

Bailey v. Hosp. of the Univ. of Pennsylvania,
   2021 WL 4958772 (Pa. Super. Ct. Oct. 26, 2021) .......................................10, 12

Bell Atlantic Corp. v. Twombly,
   550 U.S. 544 (2007) .............................................................................................. 4

In re Brinker Data Incident Litig.,
    2020 WL 691848 (M.D. Fla. Jan. 27, 2020) ...................................................... 10

Burton v. William Beaumont Hosp.,
  373 F. Supp. 2d 707 (E.D. Mich. 2005) ............................................................. 12

DeBlasio v. Pignoli,
  918 A.2d 822 (Pa. Super. Ct. 2007) .................................................................... 17

Diaz v. Holder,
   2013 WL 504236 (M.D. Pa. Jan. 16, 2013).......................................................... 4

In re Equifax Inc. Sec. Litig.,
    357 F. Supp. 3d 1189 (N.D. Ga. 2019) ................................................................. 8

Frowen v. Blank,
   425 A.2d 412 (Pa. 1981) ..................................................................................... 11

                                                          ii
Griffey v. Magellan Health Inc.,
   562 F. Supp. 3d 34 (D. Ariz. 2021) .................................................................. 7, 8

Haddad v. Gopal,
  787 A.2d 975 (Pa. Super. Ct. 2001) .................................................................... 16

In re Heartland Payment Systems, Inc. Securities Litigation,
    2009 WL 4798148 (D.N.J. Dec. 7, 2009)......................................................... 7, 8

Ingrassia Const. Co. v. Walsh,
   486 A.2d 478 (Pa. Super. Ct. 1984) .................................................................... 14

Jean v. Bucknell Univ.,
   534 F. Supp. 3d 404 (M.D. Pa. 2021) ................................................................... 7

J.R. v. Walgreens Boots Alliance, No. 20-1767, 2021 WL 4859603
   (4th Cir. Oct. 19, 2021) ....................................................................................... 15

Kirschner v. K & L Gates LLP,
   46 A.3d 737 (Pa. Super. Ct. 2012) ...................................................................... 11

Kline v. Ball,
   452 A.2d 727 (Pa. Super. Ct. 1982) ...................................................................... 8

McGrain v. C.R. Bard, Inc.,
  551 F. Supp. 3d 529 (E.D. Pa. 2021) .................................................................. 10

Morrell v. Wellstar Health Sys., Inc.,
  280 Ga. App. 1, 633 S.E.2d 68 (2006) ............................................................... 12

Pacitti v. Durr,
  2008 WL 793875 (W.D. Pa. Mar. 24, 2008), aff’d, 310 F. App’x
  526 (3d Cir. 2009) ............................................................................................... 18

In re Penn. Cent. Transp. Co.,
    831 F.2d 1221 (3d Cir. 1987) ............................................................................. 15

Rabutino v. Freedom State Realty Co., Inc.,
  809 A.2d 933 (Pa. Super. Ct. 2002) ...................................................................... 9

Rissi v. Capella,
   918 A.2d 131 (Pa. Super. Ct. 2007) .................................................................... 14



                                                          iii
Schreiber v. Olan Mills,
   627 A.2d 806 (Pa. Super. Ct. 1993) .................................................................... 13

Schweigart v. Schmalenberger,
   No. 1226-MDA-2020, 2021 WL 2775910 (Pa. Super. Ct. July 2,
   2021) ................................................................................................................... 16

Vogel v. W. T. Grant Co.
  327 A.2d 133 (Pa. 1974) ...............................................................................17, 18

W.P. v. Westmoreland Cnty.,
  Pa., 2005 WL 3447896 (W.D. Pa. Dec. 14, 2005) ............................................. 18

Weiley v. Albert Einstein Med. Ctr.,
  51 A.3d 202 (Pa. Super. Ct. 2012) ...................................................................... 12

Yanka v. Leithbridge Co.,
  2022 WL 841212 (Pa. Super. Ct. Mar. 22, 2022)................................................. 9




                                                              iv
                                INTRODUCTION
      As alleged in Plaintiff’s Complaint, a sophisticated ransomware gang of

Russian cyber-criminals attacked Lehigh Valley Health Network, Inc.’s (“LVHN”)

IT systems (the “Security Incident”). Plaintiff alleges that those criminals stole her

information, including clinically appropriate photographs taken during her radiation

treatment with LVHN. Plaintiff asserts that this theft—and the cyber-criminal’s

subsequent posting of those photographs on the dark web—has caused her mental

anguish and other harms. LVHN respects this potential impact to Plaintiff, which is

why it prioritized notifying Plaintiff—and the other patients whose photographs

were posted on the dark web—of the Security Incident. After an extensive analysis

to identify these patients and their addresses and other contact information, LVHN

called them and sent written notifications to inform them of the Security Incident

and that BlackCat posted their photographs.

      Though Plaintiff has now sued LVHN, the Complaint fails to provide any

specific legal explanation for how any action (or inaction) by LVHN can support the

claims as alleged.    And Pennsylvania law does not impose strict liability on

organizations like LVHN that are attacked by cyber-criminals. LVHN’s liability, if

any, for the fallout from such an attack must flow from actions or inactions on

LVHN’s part that fell below an applicable standard of care and contributed to the

Security Incident. The Complaint here fails to allege any facts demonstrating that



                                          1
to be the case. Instead, the Complaint presupposes that because a data breach

occurred, LVHN acted negligently, but that is insufficient to state a claim. Plaintiff

must allege what, if anything, LVHN did wrong, and how that purported wrongdoing

created Plaintiff’s injuries. Plaintiff has not and cannot make such allegations here.

       This failure alone dooms each of Plaintiff’s claims, but the Complaint also

suffers other fatal problems. Plaintiff does not allege the necessary facts to support

the claim that LVHN owed her a specific fiduciary duty related to cybersecurity,

fails to allege the existence of a contract (or identify a single potential contractual

provision at issue), fails to demonstrate the applicability of her ill-defined “breach

of confidence” claim, and fails to allege that LVHN “disclosed” her information (or,

much less, made that information “public”) to support her claim for publicity given

to private life.

       For these reasons and others set forth herein, the Complaint fails to state a

claim for relief and this case should be dismissed pursuant to Rule 12(b)(6).

                   FACTUAL AND LEGAL BACKGROUND

       Plaintiff alleges that on February 6, 2023, LVHN detected unauthorized

activity on its IT system (the “Security Incident”). Compl. ¶ 22. Plaintiff alleges

that “notorious cyber-hackers, ALPHV, also known as BlackCat, were responsible

for the attack.” Id. BlackCat demanded a ransom payment, but LVHN, following




                                          2
established guidance from law enforcement,1 did not pay. See id. ¶¶ 26-27. In

response, Plaintiff alleges that BlackCat posted limited patient information on the

dark web, including “nude photographs of Plaintiff, as well as other yet to be

identified cancer patients.” Id. ¶ 27. Plaintiff describes BlackCat as “ruthless,” id.

¶ 23, and states that BlackCat “has become notorious for launching cyberattacks

against academia and healthcare institutions.” Id. ¶ 22.

      Plaintiff alleges that around March 6, 2022, LVHN’s Vice President of

Compliance then notified her by telephone that her information had appeared online.

Id. ¶ 28. On March 13, 2023, Plaintiff filed this lawsuit in the Court of Common

Pleas of Lackawanna County based on the Security Incident. LVHN removed to

this Court on April 6, 2023. Plaintiff asserts the following causes of action: (1)

negligence, including negligence per se claims based on violations of the Health

Insurance Portability and Accountability Act (“HIPAA”) and section 5 of the FTC

Act (“FTCA”); (2) breach of fiduciary duty; (3) breach of implied contract; (4)

breach of confidence; and (5) publicity given to private life. Compl. ¶¶ 75, 88-151.




1
  See generally, Ransomware, FBI.GOV, https://www.fbi.gov/how-we-can-help-
you/safety-resources/scams-and-safety/common-scams-and-
crimes/ransomware#:~:text=The%20FBI%20does%20not%20support,this%20type
%20of%20illegal%20activity (last visited April 10, 2023) (“The FBI does not
support paying a ransom in response to a ransomware attack.”).


                                          3
She also seeks to certify a class of “all persons who are identified to be subject of

the Security Incident.” Compl. ¶ 75.

      On April 14, 2023, Plaintiff filed its motion to remand this case to state court,

LVHN responded on April 28, 2023, and Plaintiff’s reply is due May 12, 2023.

Now, LVHN moves to dismiss the Complaint in its entirety under Rule 12(b)(6) of

the Federal Rules of Civil Procedure.

                                LEGAL STANDARD

      To survive dismissal under Rule 12(b)(6), a complaint “must contain

sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible

on its face.’” Am. Corporate Soc’y v. Valley Forge Ins. Co., 424 Fed. App’x 86, 88

(3d Cir. 2011) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)). A court must

“take note of the elements a plaintiff must plead to state a claim,” “identify

allegations that, ‘because they are no more than conclusions, are not entitled to the

assumption of truth,’” and then “determine whether [the well-pleaded factual

allegations] plausibly give rise to an entitlement for relief.”         Diaz v. Holder,

2013 WL 504236, at *2 (M.D. Pa. Jan. 16, 2013) (quoting Iqbal, 556 U.S. at 673).

In other words, if the factual allegations are more likely explained by lawful behavior

than illegal activity, then the complaint should be dismissed. Iqbal, 556 U.S. at 680.




                                            4
                                    ARGUMENT

      Plaintiff’s Complaint should be dismissed in its entirety for the following

reasons. First, Plaintiff’s Complaint fails to allege any facts sufficient to show how

LVHN’s conduct caused the Security Incident or led to her injury. Instead, Plaintiff

simply points to the existence of the Security Incident as somehow demonstrative of

LVHN’s misconduct. This conclusory allegation is insufficient to state any claim

for relief. Second, Plaintiff’s negligence claim fails because Plaintiff has not alleged

that LVHN breached the standard of care, and because Pennsylvania does not permit

Plaintiff to pursue negligence per se claims based on HIPAA or FTCA. Third,

Plaintiff’s breach of fiduciary duty claim fails because Plaintiff has not alleged facts

that would give rise to a specific fiduciary duty that would be applicable here.

Fourth, Plaintiff’s breach of implied contract claim fails because Plaintiff does not

allege the required elements of contract formation. Fifth, Plaintiff’s breach of

confidence claim fails because she fails to allege that LVHN disclosed any

information that would blacken her character. Finally, Plaintiff’s publicity to private

life claim fails because her information is not (and is not substantially certain to

become) public knowledge and because BlackCat, not LVHN, disseminated her

information.




                                           5
I.    This Court should dismiss the Complaint because Plaintiff does not plead
      facts indicating that LVHN failed to implement reasonable security
      standards (Counts I-V).

      All of Plaintiff’s causes of action rely on the conclusory allegation that LVHN

failed to implement reasonable data security standards to protect Plaintiff’s private

information.2 See Compl. ¶¶ 97, 102, 113, 118-19, 128, 141, 150 (premising each

individual cause of action on the failure to use “reasonable measures” to protect

Plaintiff’s information). Plaintiff fails, however, to allege a single specific act or

omission by LVHN to indicate how its data security standards and practices are

unreasonable.    The Complaint makes no mention of any specific protocol,

guidelines, or principles that LVHN failed to adhere to in implementing its data

security standards.    Instead, Plaintiff’s Complaint rests entirely on the bare

assumption that because the Security Incident occurred, LVHN must be liable.

      These allegations are insufficient as a matter of law. See e.g., Jean v. Bucknell

Univ., 534 F. Supp. 3d 404, 411-16 (M.D. Pa. 2021) (dismissing plaintiff’s

conclusory claims against university for failure to allege a duty or breach of duty).

Indeed, in the context of cybersecurity, federal courts recognize that a data breach

alone does not plausibly allege that a defendant lacked adequate security measures.



2
  LVHN’s refusal to pay BlackCat’s exorbitant ransom demand cannot give rise to
a claim. Plaintiff points to no duty that would require LVHN to pay a ransom to a
Russian criminal gang in contravention of guidance from law enforcement. See
supra note 1.

                                          6
For example, in In re Heartland Payment Systems, Inc. Securities Litigation, No. 09-

cv-1043, 2009 WL 4798148 (D.N.J. Dec. 7, 2009), plaintiff brought a securities

fraud claim against defendant after criminal hackers infiltrated the defendant’s

systems. Id. at *1. Plaintiff alleged that defendant fraudulently misrepresented its

data security practices. The court dismissed plaintiff’s claims, finding in part that

“[t]he fact that a company [] suffered a security breach does not demonstrate that the

company did not place significant emphasis on maintaining a high level of security.”

Id. at *5. Instead, the court found that “[i]t is equally plausible that [the company]

did place a high emphasis on security but that the [c]ompany’s security systems were

nonetheless overcome.” Id. Thus, the court concluded that “[t]he facts alleged in

the complaint d[id] not support an inference that [defendant] did not make serious

efforts to protect its computer network from security breaches.” Id. at *6.

      Similarly, in Griffey v. Magellan Health Inc., 562 F. Supp. 3d 34, 54 (D. Ariz.

2021), the United States District Court for the District of Arizona dismissed

plaintiffs’ claims against defendant for inadequate cybersecurity because plaintiffs

“fail[ed] to adequately articulate the ‘how’ of the data breach.” Id. The court held

that “the argument that a system [is] inadequate because a negative result occurred

is conclusory” and “[t]he Court is permitted to ignore conclusory allegations.” Id.;

cf. In re Equifax Inc. Sec. Litig., 357 F. Supp. 3d 1189, 1218–19 (N.D. Ga. 2019)




                                          7
(denying motion to dismiss plaintiff’s claim when plaintiff had “asserted specific

factual allegations describing the poor state of [defendant’s] cybersecurity”).

      Here, like in Heartland and Griffey, Plaintiff alleges no facts other than the

negative result of the Security Incident itself to support her allegations that LVHN

failed to employ reasonable security measures. Plaintiff does not allege any facts

regarding how (technically) the breach occurred, the standards LVHN maintained to

prevent security incidents, how LVHN failed to follow specific FTC or HIPAA

procedures or any other guidance or principals, what measures could have prevented

the Security Incident, or whether any specific cybersecurity deficiencies caused the

breach.   To the contrary, Plaintiff’s Complaint alleges that LVHN suffered a

ransomware attack by a “notorious” and “ruthless” gang of Russian cybercriminals.

      Accordingly, because Plaintiff fails to include any allegations related to

LVHN’s cybersecurity, and all her claims rely on the assumption that LVHN’s

security was deficient, Plaintiff has failed to allege a critical element of each of her

claims. See Kline v. Ball, 452 A.2d 727, 729 (Pa. Super. Ct. 1982) (“Tort liability

must be founded upon some blameworthy conduct, or lack of due care resulting in

the violation of a duty owing to others.”). Consequently, the Court should dismiss

Plaintiff’s Complaint in its entirety.




                                           8
II.   Plaintiff’s negligence claim fails because Plaintiff does not allege facts
      supporting a breach and because Pennsylvania law does not permit
      negligence per se claims based on FTCA or HIPAA (Count I).

      In Pennsylvania, a negligence claim consists of four elements: (1) a duty

recognized by the law, requiring the actor to conform to a certain standard; (2) a

failure to conform to the required standard; (3) a causal connection between the

conduct and the resulting injury; and (4) actual loss or damage resulting to the

interests of another. See Rabutino v. Freedom State Realty Co., Inc., 809 A.2d 933,

938 (Pa. Super. Ct. 2002).

      Here, as explained above, Plaintiff fails to allege any facts that demonstrate

how LVHN failed to conform to a required cybersecurity standard to support her

claim for negligence. In Pennsylvania, plaintiffs must allege at least some facts in

this regard for a negligence claim to survive. See Yanka v. Leithbridge Co., No. 839-

EDA-2021, 2022 WL 841212, at *9-10 (Pa. Super. Ct. Mar. 22, 2022) (dismissing

plaintiff’s claim for negligence because plaintiff “failed to provide any evidence

showing” that defendant lacked adequate cybersecurity that caused the criminal

actor’s fraudulent transaction); McGrain v. C.R. Bard, Inc., 551 F. Supp. 3d 529

(E.D. Pa. 2021) (dismissing plaintiff’s “negligent manufacturing” claim because the

complaint failed to allege “any factual allegation as to the nature of what went wrong

during the manufacturing process.”). Because Plaintiff has not done so, Count I

should be dismissed.



                                          9
      In addition, Plaintiff’s alternative theories of negligence—for negligence per

se based on LVHN’s alleged violations of HIPAA and section 5 of the FTC Act,

Compl. ¶¶ 101-15—fail because Pennsylvania does not recognize negligence per se

claims premised on violations of statutes that do not provide a private right of action.

See Bailey v. Hosp. of the Univ. of Pennsylvania, No. 1481-EDA-2020, 2021 WL

4958772, at *5 (Pa. Super. Ct. Oct. 26, 2021) (affirming the trial court’s reasoning

that “because HIPAA does not confer a private right of action, HIPAA cannot be the

source of the duty supposedly owed to [plaintiff]”); Almendarez v. Lottery, No. 17-

cv-587, 2017 WL 3190646, at *4 (W.D. Pa. July 27, 2017) (holding that no private

right of action exists under the FTC Act); see also In re Brinker Data Incident Litig.,

No. 3:18-CV-686, 2020 WL 691848, at *9 (M.D. Fla. Jan. 27, 2020) (holding that

FTC Act cannot be basis of negligence per se claim under Florida law, which

squarely forecloses negligence per se claims that rely on a federal statute without a

private right of action). Moreover, as set forth above, Plaintiff has not alleged any

facts indicating that HIPAA or the FTC Act were breached in the first place. For

both these reasons, Plaintiff’s references to HIPAA and the FTC Act do not save her

negligence claim.




                                          10
III.   This Court should dismiss Plaintiff’s claim for breach of fiduciary duty
       because she fails to allege a confidential relationship with LVHN or that
       LVHN disclosed her private information (Count II).

       First, Count II fails because Plaintiff fails to allege facts sufficient to support

a confidential relationship. To prevail on a claim of breach of fiduciary duty, a

plaintiff must show: (1) the existence of a fiduciary relationship between the plaintiff

and the defendant, (2) that the defendant negligently or intentionally failed to act in

good faith and solely for the plaintiff’s benefit, and (3) that the plaintiff suffered an

injury caused by the defendant’s breach of its fiduciary duty. Kirschner v. K & L

Gates LLP, 46 A.3d 737, 757-58 (Pa. Super. Ct. 2012).

       Courts in Pennsylvania recognize the fiduciary and confidential relationship

between physician and patient, but this relationship does not automatically extend to

the hospital or hospital network, given the stark difference in the relationship and

the corresponding administrative and logistical responsibilities when compared to

an individual physician. See e.g., Bailey, 2021 WL 4958772, at *5 (finding no

common law duty for a hospital to protect patient’s confidential information); Weiley

v. Albert Einstein Med. Ctr., 51 A.3d 202 (Pa. Super. Ct. 2012) (finding plaintiff’s

complaint against the hospital “legally insufficient to establish that Hospital owed

[plaintiff] any fiduciary duty of care” because it “made no attempt to assert or

explain, for example, how Hospital failed to deal with him on equal terms, or what

advice or counsel from Hospital he relied upon to his detriment, or how Hospital



                                           11
used its position to [his] detriment and to its own advantage.”).3 Here, Plaintiff fails

to allege any non-conclusory facts supporting a confidential and fiduciary

relationship between LVHN—a hospital network—and Plaintiff. Consequently, her

breach of fiduciary duty claim fails.

      Second, even assuming that Plaintiff alleged a confidential or fiduciary

relationship with LVHN, she fails to allege any facts indicating that LVHN

“negligently or intentionally” failed to act in good faith. Advanced Fluid Systems,

Inc. v. Huber, 295 F. Supp. 3d 467, 487 (M.D. Pa. 2018) (“[t]o sustain [a] claim for

breach of fiduciary duty,” plaintiff “must demonstrate” that defendant “failed to act

in good faith” and that plaintiff “suffered an injury” as a result). Plaintiff’s only

basis for that allegation is that the Security Incident occurred which, as explained

above, is insufficient. Accordingly, this Court should dismiss Plaintiff’s claim for

breach of fiduciary duty.




3
  Courts in other jurisdictions, for example, have found that no fiduciary duty exists
between a patient and a hospital for the hospital’s duties that do not directly relate
to the physician-patient duty of care. See, e.g., Burton v. William Beaumont Hosp.,
373 F. Supp. 2d 707, 723–24 (E.D. Mich. 2005) (“[T]here is no authority for the
proposition that a fiduciary relationship exists between a hospital and a patient for
. . . billing practices.”) (citation omitted); Morrell v. Wellstar Health Sys., Inc., 280
Ga. App. 1, 7–8, 633 S.E.2d 68 (2006) (“[A] nonprofit hospital generally has no
fiduciary duty to a patient with respect to the price the hospital charges for medical
care.”).

                                           12
IV.   This Court should dismiss Plaintiff’s claim for breach of implied contract
      because she fails to allege conduct by LVHN demonstrating mutual
      assent, and she impermissibly relies on LVHN’s written privacy policy to
      support her claim (Count III).

      In Pennsylvania, for a contract to be enforceable, there must be an offer, an

acceptance, and valid consideration given, or a mutual meeting of the minds.

Schreiber v. Olan Mills, 627 A.2d 806, 808 (Pa. Super. Ct. 1993). A meeting of the

minds requires the parties to mutually assent to the same thing. Id. A contract can

be “express” or “implied” depending on the method of contract formation:

“[c]ontracts are ‘express’ when the parties state their terms and ‘implied’ when the

parties do not state their terms. The distinction is based not on the contracts’ legal

effect but on the way the parties manifest their mutual assent.” Baer v. Chase, 392

F.3d 609, 616 (3d Cir. 2004)

      An implied contract arises “where the parties agree upon the obligations to be

incurred, but their intention, instead of being expressed in words, is inferred from

their acts in the light of the surrounding circumstances.” Rissi v. Capella, 918 A.2d

131, 140 (Pa. Super. Ct. 2007). These are circumstances which, “according to the

ordinary course of dealing and the common understanding of men, show a mutual

intention to contract.” Id. When ascertaining the intent of the parties, courts in

Pennsylvania must look to the “outward and objective manifestations” of the assent

to enter into the contract. Ingrassia Const. Co. v. Walsh, 486 A.2d 478, 482–83 (Pa.

Super. Ct. 1984). To this point, “an implied-in-fact contract, in the face of an express


                                          13
agreement governing the same subject matter, is legally untenable.” Baer v. Chase,

392 F.3d 609, 616-17 (3d Cir. 2004). Here, Plaintiff’s claim for breach of implied

contract fails for three reasons.

      First, Plaintiff does not sufficiently plead the necessary elements of a contract.

She does not allege any objective manifestations of LVHN’s intent to enter a contract

with Plaintiff relating to her private information. Without any allegations that

indicate LVHN’s conduct demonstrating mutual assent in this regard, Plaintiff’s

claim for breach of implied contract must be dismissed. “A court cannot enforce a

contract unless it can determine what it is,” Ingrassia Const. Co., 486 A.2d at 484,

and the Complaint does not provide any facts that indicate an agreement between

LVHN and Plaintiff relating to cybersecurity.

      Second, Plaintiff may not rely on LVHN’s privacy policy to support a claim

for an implied contract, because an implied contract can only be demonstrated by

the conduct between the parties, not any express or written words. See In re Penn.

Cent. Transp. Co., 831 F.2d 1221, 1228 (3d Cir. 1987) (explaining that an implied

contract can only exist where “the agreement and promise have not been verbally

expressed . . . [but] rather [must be] inferred from the conduct of the parties.”). But

even if LVHN’s privacy policy could support an implied contract claim, that claim

would fail because Plaintiff does not identify what provisions of that policy were

breached here. At most, Plaintiff points to generic statements about the way LVHN



                                          14
endeavors to protect PII. Compl. ¶¶ 19-20. Yet Plaintiff fails to allege in any

discernible way what promises LVHN made in its privacy policy and how LVHN

breached those promises. For this reason too, Plaintiff’s breach of implied contract

claim fails. See J.R. v. Walgreens Boots Alliance, Inc. No. 20-1767, 2021 WL

4859603, at *6 (4th Cir. Oct. 19, 2021) (rejecting implied contract claim based on

privacy policy).

      Third, Plaintiff’s claim appears to be based on the assertion that LVHN

“disclosed” her information to BlackCat. Compl. ¶ 125 (LVHN “agreed it would

not disclose PHI”). But that conclusory assertion of “disclosure” is directly contrary

to the factual allegations of the Complaint, which state that Plaintiff’s information

was stolen by sophisticated cyber criminals.

      For these reasons, the Court should dismiss Plaintiff’s claim for breach of

implied contract.

V.    This Court should dismiss Plaintiff’s claim for breach of confidence
      because she fails to allege that LVHN disclosed information that would
      blacken her character (Count IV).

      To succeed on a claim for breach of physician-patient confidentiality in

Pennsylvania, Plaintiff must show (1) a disclosure; (2) of her communications; (3)

without consent; that would (4) tend to blacken her character. Schweigart v.

Schmalenberger, No. 1226-MDA-2020, 2021 WL 2775910, at *10 (Pa. Super. Ct.

July 2, 2021). Plaintiff fails to meet these requirements.



                                         15
      First, Plaintiff’s conclusory allegation of “disclosure” contradicts the clear

factual allegations that Plaintiff’s information was stolen by criminal hackers.

Indeed, disclosure in this context means “to make something known or public” or

“to reveal,” and no cases in Pennsylvania have upheld a claim for breach of

confidence where the offending party did not make “an obvious statement to a third

party.”   Schweigart, 2021 WL 2775910, at *10.         Second, none of Plaintiff’s

information that criminal hackers allegedly stole tends to blacken her character. Cf.

Haddad v. Gopal, 787 A.2d 975, 980 (Pa. Super. Ct. 2001) (accepting claim where

defendant physician disclosed plaintiff’s venereal disease to her husband without

consent and specifically finding that such information blackened her character).

Third, and finally, LVHN is not aware of any court in Pennsylvania accepting this

claim—which is generally premised upon the relationship between a physician and

a patient—when alleged against a hospital network like LVHN.

      Accordingly, this Court should dismiss Plaintiff’s claims for breach of

confidence.

VI.   Plaintiff’s claim for publicity given to private life fails because Plaintiff’s
      information has not been publicized and because LVHN did not
      voluntarily disclose Plaintiff’s information (Count V).

      In Pennsylvania, invasion of privacy based on publicity given to private life

occurs when a person “[1] gives publicity to [2] matters concerning the private life

of another, [3] of a kind highly offensive to a reasonable man.” See Vogel v. W. T.



                                         16
Grant Co. 327 A.2d 133, 136 (Pa. 1974). Publicity is at the crux of this claim and

requires that “[the] matter is made public by communicating it to the public at large,

or to so many persons that the matter must be regarded as substantially certain to

become one of public knowledge.” See DeBlasio v. Pignoli, 918 A.2d 822, 824 n.3

(Pa. Super. Ct. 2007).

      Here, Plaintiff’s Count V fails because Plaintiff’s information has not been

publicized. Based on Plaintiff’s Complaint, Plaintiff’s information is only available

on the dark web within a batch of aggregated data. See Compl. ¶¶ 27-28, 36 (alleging

that BlackCat posted Plaintiff’s information on the “‘dark web,’ a heavily encrypted

part of the Internet that is not accessible via traditional search”). It is not public

knowledge or substantially certain to become public knowledge. See Vogel, 327

A.2d at 137 (dismissing claims and stating that “‘Publicity’ means that the matter is

made public, by communicating it to the public at large, or to so many persons that

the matter must be regarded as substantially certain to become one of public

knowledge”); W.P. v. Westmoreland Cnty., Pa., No. 04-cv-1562, 2005 WL 3447896,

at *20 (W.D. Pa. Dec. 14, 2005) (dismissing claim because the “allegations fail[ed]

to meet the required element of publication such that the matter becomes public

knowledge.”).

      Moreover, even if Plaintiff’s information had been publicized, Count V still

fails because LVHN did not voluntarily publicize that information. To be liable for



                                         17
a claim for publicity given to private life, a defendant must voluntarily and

intentionally publicize the information. See Pacitti v. Durr, No. 05-cv-317, 2008

WL 793875, at *25 (W.D. Pa. Mar. 24, 2008), aff’d, 310 F. App’x 526 (3d Cir. 2009)

(explaining that, in Pennsylvania, for any claim for invasion of privacy a plaintiff

must show an intentional intrusion into their privacy). Here, Plaintiff’s Complaint

makes clear that—to the extent her information was “publicized at all”—BlackCat

made the information public, not LVHN. See Compl. ¶ 27 (alleging that BlackCat

posted Plaintiff’s information).

       For these reasons, this Court should dismiss Plaintiff’s claim for publicity

given to private life.

                                   CONCLUSION

       For the foregoing reasons, this Court should dismiss Plaintiff’s Complaint in

its entirety.

Dated: May 5, 2023                     /s/ Phyllis B. Sumner
                                       Phyllis B. Sumner (admitted pro hac vice)
                                       Elizabeth D. Adler (admitted pro hac vice)
                                       James M. Brigman (admitted pro hac vice)
                                       KING & SPALDING LLP
                                       1180 Peachtree Street, NE, Suite 1600
                                       Atlanta, GA 30309
                                       (404) 572-4600
                                       psumner@kslaw.com
                                       eadler@kslaw.com
                                       mbrigman@kslaw.com

                                       Daniel E. Cummins (Bar No. 71239)


                                         18
CUMMINS Law
610 Morgan Hwy
Clarks Summit, PA 18411
(570) 319-5899
dancummins@cumminslaw.net

Attorneys for Defendant Lehigh Valley Health
Network, Inc.




 19
           CERTIFICATE OF COMPLIANCE WITH WORD COUNT

      Pursuant to Local Rule 7.8(b)(2), I, Phyllis B. Sumner, hereby certify that the

foregoing brief contains 4,845 words, calculated using Microsoft Word’s word count

feature.

                                                    /s/ Phyllis B. Sumner
                                                    Phyllis B. Sumner
                         CERTIFICATE OF SERVICE

      I, Phyllis B. Sumner, hereby certify on May 5, 2023, that a true and correct

copy of the foregoing Defendant Lehigh Valley Health Network, Inc.’s Brief in

Support of Motion to Dismiss Plaintiff’s Complaint and all exhibits thereto, were

filed electronically through the Court’s CM/ECF System and were served upon all

counsel of record at the e-mail address listed in the Court’s database.

                                                     /s/ Phyllis B. Sumner
                                                     Phyllis B. Sumner




                                          2
